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AO450 (NVD Rev. 2/18) Judgment in a Civil Case




                                  UNITED STATES DISTRICT COURT
                                                 DISTRICT OF NEVADA


Triple Braided Cord Trust
                                                       JUDGMENT IN A CIVIL CASE
                                Petitioner,
         v.                                            Case Number: 2:24-cv-00841-JAD-BNW
 Nationstar Mortgage LLC et al


                                 Respondents.


         Jury Verdict. This action came before the Court for a trial by jury. The issues have been tried and
         the jury has rendered its verdict.

         Decision by Court. This action came to trial or hearing before the Court. The issues have been tried
         or heard and a decision has been rendered.

         Decision by Court. This action came for consideration before the Court. The issues have been
         considered and a decision has been rendered.

      IT IS ORDERED AND ADJUDGED
Judgment in favor of Respondents Nationstar Mortgage LLC and MTC Financial and Against Petitioner Julie
 Embry without prejudice.




         7/22/2024
         ____________________                                 DEBRA K. KEMPI
         Date                                                Clerk



                                                              /s/ M. Moran
                                                             Deputy Clerk
